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Case 6:21-cv-01207-LEK-TWD Document 1 Pet a Peak, of 15

    
   

 

NOV 05 2021
UNITED STATES DISTRICT COURT AT OC
NORTHERN DISTRICT OF NEW YORK lia Doma, C9 pe
a ad, Clerk Albany
Julie A. Utter )
Plaintiff(s) ) Civil Case No: (9: 2[-CV- (20% (LeK|
)
vs. ) COMPLAINT PURSUANT Tid )
oer ae TO THE AMERICANS
lley- | h )
Cherry Valley-Springfield Central School District ) WITH DISABILITIES ACT
Defendant(s) )

 

 

 

 

Plaintiff(s) demand(s) atrial by: [_]JURY [\/] COURT (Select only one).

 

Plaintiff(s) in the above-captioned action, allege(s) as follows:
JURISDICTION

: This is a civil action seeking judgment, relief and/or damages brought pursuant to the
Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., as amended, for
discrimination based upon a disability and the failure to accommodate same. This Court
has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331 and 1343(4).

PARTIES

2. a. Plaintiff, Julie A. Utter

 

Address: 103 State Hwy 165

 

Roseboom, NY 13450

 

 

b. Plaintiff:

 

Address:

 

 

 

Additional Plaintiffs may be added on a separate sheet of paper.
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a. Defendant: Cherry Valley Springfield CSD

 

Official Position: NYS Public School

 

Address: 597 County Road 54

 

Cherry Valley, NY 13320

 

 

b. Defendant:

 

Official Position:

 

Address:

 

 

 

Additional Defendants may be added on a separate sheet of paper.

My disability is as follows:

| have a documented learning disability consisting of a processing delay and a diagnosis of
(ADHD) Attention Deficit Hyperactivity Disorder, recognized under Other Health Impariments
(OHI). Please see attached Psychological Report.
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ay The conduct complained of in this action involves:
(Check all that apply)

(A) Tey Failure to employ.

(B) Ww Termination of employment.

(C) Ly Denial of participation in public service or program.

(D) aE, Failure to make alterations to accommodate disability.

(E) [V1 Retaliation.

(G) eek? Other acts as specified below:

6. FACTS

On the following page, set forth the facts of your case which substantiate your claim of
discrimination. List the events in the order they happened, naming defendants involved, dates and
places.

Note: Each fact should be stated in a separate paragraph; paragraphs should be
numbered sequentially.

You must include allegations of wrongful conduct as to EACH and EVERY
defendant in your complaint.

You may use additional sheets as necessary.
Please See Attached EEOC Charge and Paperwork.
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CF PRAYER FOR RELIEF

WHEREFORE, plaintiff(s) request(s) that this Court grant the following relief:
Please see attached Prayer For Relief.

I declare under penalty of perjury that the foregoing is true and correct.

patep: [| (5/2 ;
il WHY

 

Signature of Plaintiff(s)
(all Plaintiffs must sign)
Case 6:21-cv-01207-LEK-TWD Document1 Filed 11/05/21 Page 5 of 15

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Buffalo Local Office
300 Pearl St., Suite 450
Buffalo, NY 14202
(716) 431-5007
TTY (716) 551-5923
FAX Bufffaxmain@eeoc.gov

 

Julie Utter
103 State Highway 165
Roseboon, NY 13450

Re: EEOC Charge No.: 525-2021-00672
Julie Utter v. Cherry Valley-Springfield Central School District

Dear Ms. Utter:

The Equal Employment Opportunity Commission (hereinafter referred to as the "Commission"), has
reviewed the above-referenced charge according to our charge prioritization procedures. These
procedures, which are based on a reallocation of the Commission's staff resources, apply to all open
charges in our inventory and call for us to focus our limited resources on those cases that are most likely
to result in findings of violations of the laws we enforce.

In accordance with these procedures, we have evaluated your charge based upon the information
provided. You alleged that you were discriminated against because of your disability, and that you were
subjected to retaliation.

Respondent’s position statement has been previously shared with you. You were informed of reasons
why the EEOC was inclined to dismiss your case. Your rebuttal was received and analyzed. Based upon
this analysis the Commission is unable to conclude that the information establishes a violation of Federal
Law on the part of Respondent. This does not certify that Respondent is in compliance with the statutes.
No finding is made as to any other issue that might be construed as having been raised by this charge.

The Commission’s processing of this charge has been concluded. Included with this letter is your Notice
of Dismissal and Right to Sue. Following this dismissal, you may only pursue this matter by filing suit
against the Respondent named in the charge within 90 days of receipt of said notice. Otherwise, your
right to sue will be lost. Please contact Federal Investigator Nelly Sanchez at (716) 431-5017 if you have
any questions.

Sincerely,

Digitally signed by Maureen C.

Maureen C. Kielt «ier

ate: 2021.08.10 14:37:40 -04'00'
Date: fe

Maureen Kielt, Director
Buffalo Local Office

CC: David A. Fallon
1525 Western Ave.
Albany, NY 12203
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EEOC Form § (11/09)

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CHARGE OF DISCRIMINATION

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
Statement and other information before completing this form.

Charge Presented To: Agency(ies) Charge No(s):

 

 

NYS Division of Human Rights

State or local Agency, if any

and EEOC

 

Name (indicate Mr., Ms., Mrs.)

IMs. Julie Utter

Home Phone (inci. Area Code) Date of Birth

(607) 264-3488

 

 

Street Address

103 State Highway 165

City, State and ZIP Code

Roseboon, NY 13450

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

Name

Cherry Valley-Springfield Central School District

No. Employees, Members Phone No. (Include Area Code)

 

 

100+ (607) 264-3265
Street Address City, State and ZIP Code
P.O. Box 485 Cherry Valley, NY 13320
Name No. Employees, Members

Phone No. (include Area Code)

 

 

 

Street Address

City, State and ZIP Code

 

DISCRIMINATION BASED ON (Check appropriate box(es).)

[ X JRetauiation [face
[_Jotner (Specify)

DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

11/23/ 2020 2/4/2021

[_Jeontinuine ACTION

 

 

[THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
Please see attached continuation sheets.

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | will
vise the agencies if | change my address or phone number and | will cooperate fully
with them in the processing of my charge in accordance with their procedures.

MANDY A. BURLISON ‘ Seated

1D)
ae NG 01BU641 2037

Qualified in Otsego Coury <=
Commission Expires December 44-202

INOTARY — When necessary for State and Local Agency z ao 8 oe

  

 

| swear or affirm that | have read the above charge and thats true to the

 

| declare under penalty of perjury that the above is true and correct.

alley (ele |

Date Charging Party Signature

best of my knowledge, information and belief.
ISIGNATURE OF COMPLAINANT

ISUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year)

 

 

x dL /

 

 

 
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CONTINUATION SHEET TO HOFFMAN EEOC CHARGE
1: This Charge concerns claims of disability discrimination under the Americans with
Disabilities Act of 1990 (ADA) as amended, 42 U.S.C. § 12101 et seq., and the New York State
Human Rights Law (NYSHRL), brought by Julie Utter (hereinafter “Ms. Utter”) against Cherry
Valley-Springfield Central School District (hereinafter “Cherry Valley”), concerning Ms. Utter’s
termination as a Special Education Teacher.

2 Ms. Utter was hired by Cherry Valley as a Special Education Teacher on September

18, 2017.
3: Ms. Utter is diagnosed with a learning disability.
4. Ms. Utter’s son is also diagnosed with a learning disability and, upon Ms. Utter’s

hiring, she was informed that as a teacher working the district, her children were permitted to
attend school within the district.

3; Following her hire, Ms. Utter received praise and high marks in her position.

6. For the 2017 — 2018 teaching period, Ms. Utter received an Annual Professional
Performance Review (APPR) overall rating of “Highly Effective,” the highest possible overall
rating.

a For the 2018 — 2019 teaching period, Ms. Utter again received an APPR rating of
“Highly Effective,” the highest possible overall rating.

8. In October 2019, Ms. Utter advised her direct supervisor, Bonnie Georgi, Director
of Special Education / DDC, that Ms. Utter would enrolling her special needs child in the district.
Numerous teachers in the past had enrolled their non-disabled children in the district, including in

situations wherein such teachers taught their own children.
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9: Ms. Georgi verbally expressed her disapproval of Ms. Utter enrolling her disabled
child in the district and shot an annoyed look at Ms. Utter.

10. Ms. Georgi stated that Ms. Utter’s general education daughter could attend the
district, but her special needs son could not. Ms. Georgi implied that taking on another special
needs student would pose a hardship for the district. In spite of Ms. Georgi’s objections, Ms. Utter
still intended to enroll her special needs child in the district.

11. Ultimately, Ms. Utter’s special needs child was permitted to enroll in the district.
However, Ms. Utter’s treatment before and after October 2019 was night and day, and she became
targeted for termination by the district.

12. In the year following her October 2019 discussion with Ms. Georgi, Ms. Utter was
consistently targeted with baseless performance accusations, and subjected to a grossly increased
workload, all in an effort to build a paper trail to terminate her employment prior to the end of her
probationary period.

13, These accusations against Ms. Utter had no basis in fact. To the contrary, Ms. Utter
had maintained her exemplary level of performance as a Special Education Teacher.

14. On October 23, 2020, Ms. Utter transmitted an email to Ms. Georgi, Ms.
Climenhaga, and others, in which Ms. Utter discussed her learning disability and further stated an
intention to seek assistance from a disability advocate. As set forth more fully below, Cherry
Valley then brazenly and openly used this email exchange as a basis to terminate Ms. Utter’s
employment.

15. On or about December 4, 2020, Ms. Utter was provided correspondence from
Superintendent of Schools TheriJo Climenhaga. This correspondence stated that Ms. Utter would

be recommended for termination by the district.
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16. On or about December 14, 2020, Ms. Utter was provided with a statement of the
alleged reasons why her employment was being terminated (“Statement of Reasons’’). There were
six (6) allegations against Ms. Utter, none of which supported her removal.

17. The accusations in the Statement of Reasons were either false or grossly
exaggerated. The fact was that Ms. Utter had maintained the very same strong performance, which
had been consistently recognized prior to October 2019, the date she advised Ms. Georgi that she
would be enrolling her son in the district.

18. | As an example of the fabricated accusations against Ms. Utter, the Statement of
Reasons accused Ms. Utter of submitting report cards late. However, Ms. Utter was not
responsible for providing report cards for her special education students. Rather she was
responsible for providing “progress notes,” which she completed and submitted on time. The
Statement of Reasons then states that progress notes for “previous school years have been
submitted after the deadline.” However, Ms. Utter received “highly effective” overall ratings on
her APPRs in these previous school years, and prior to 2019 had not been counseled or disciplined
with respect any potentially late progress notes.

19. | The Statement of Reasons also falsely accused Ms. Utter of modifying her schedule
“without collaboration or permission from your direct supervisor.” This allegation was completely
false, as Ms. Utter had self-designed her schedule at Ms. Georgi’s request.

20. The Statement of Reasons further falsely accused Ms. Utter of a lack of preparation
that negatively impacted “the quality of instruction we offer our children.” This was of course
again directly contradicted by Ms. Utter’s performance reviews. For example, for both the 2017
—2018 and 2018 — 2019 school years, Ms. Utter received “student performance ratings” of “highly

effective” — the highest possible rating.
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ai. The Statement of Reasons also falsely accused Ms. Utter of an “inability to
effectively collaborate with colleagues.” The statement of reasons was the first instance in which
Ms. Utter was ever made aware that there was a concern with her ability to collaborate with
colleagues. Ms. Utter believes this statement to be completely false as Ms. Utter always treated
her colleagues with kindness and respect.

22. The Statement of Reasons further accuses Ms. Utter of sending an inappropriate
email in which she allegedly, inter alia, “made accusatory and untrue statements toward your
employer as an EOE.” This constitutes direct evidence of retaliation and was in direct response
to an sa discussion in which Ms. Utter discussed her disability and further stated, “I just made
myself completely vulnerable by informing my employer of my disability. That wasn't the
response I expected from an EOE. Meeting with you and Jim and union representation will also
be accompanied by a disability advocate as well. That is my right as someone with a disability.”
To use this as a basis to terminate Ms. Utter constitutes direct evidence of discrimination and
reprisal.

ze: During the 2020 - 2021 school year, the district also placed a substantially
increased workload upon Ms. Utter. Ms. Utter was a special education teacher, whose sole
responsibility was to be teaching special needs students. However, during the 2020 - 2021
school year, Ms. Utter was also given the responsibility of teaching five (5) additional general
education students that were remote and in need of teaching. These students were in first, second,
third (2 students), and fourth grades. Ms. Utter never received any explanation as to why these
students’ general educations teachers were not responsible for their instruction. Nonetheless, she

did not complain and attempted to be a team player. However, the drastically increased work-

load and barrage of baseless accusations took its toll upon Ms. Utter.
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24. On or about January 13, 2021, Ms. Utter provided a response addressing each of
the allegations set forth in the Statement of Reasons.

25. On or about February 4, 2021, Ms. Utter received correspondence from Ms.
Climenhaga that her employment would be terminated effective February 20, 2021.

26. | Upon information and belief, Ms. Utter has been replaced by a non-disabled
individual who does not have any experience teaching special education.

AS AND FOR A FIRST CAUSE OF ACTION
DISABILITY-BASED DISCRIMINATION (ADA and NYSHRL)

27. Ms. Utter is within a protected class on account of her disability.

28. Ms. Utter is in a protected class on account of her association with her disabled
minor child.

29. Ms. Utter’s learning disability is a disability within the intendment of the ADA, 42
U.S.C. § 12102, and substantially limits multiple major life activities.

30. Ms. Utter’s learning disability is a disability within the intendment of the NYSHRL,
N.Y. Exec: 1.:§ 292(21).

31. Ms. Utter’s minor child has a disability within the intendment of 42 U.S.C. § 12102
and N.Y. Exec. L. § 292(21) and Ms. Utter is in a protected class based upon her association with
said minor child.

32. Ms. Utter’s disability as well as the disability of her child was known to Respondent
and Respondent’s decision-makers in regard to her termination and other discriminatory acts
complained of.

33. Because of her disability, Ms. Utter was threatened with and subjected to tangible
adverse employment actions, including her February 4, 2021 termination and November 23, 2020

evaluation.
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34. Ms. Utter did not engage in any misconduct to support the termination of her
employment with Cherry Valley. However, even if Ms. Utter did engage in any such infractions,
any such infractions were not comparable in seriousness to misconduct of similarly situated
employees outside of the protected classes to which Ms. Utter belonged who were not subjected
to similar adverse employment actions.

35. Ms. Utter suffered more severe discipline, including termination, as a result of her
alleged misconduct and/or performance, than similarly situated employees who were outside her
protected class who engaged in misconduct of comparable or greater seriousness.

36. Asa direct and proximate result of Cherry Valley’s illegal discrimination against
Ms. Utter and discriminatory discharge of her, Ms. Utter has incurred damages including but not
limited to lost income and benefits, humiliation, loss of enjoyment of life, emotional distress,
damage to her professional reputation, and other pecuniary and non-pecuniary losses, which
damages would not have occurred but for Cherry Valley’s illegal discrimination and
discriminatory discharge.

AS AND FOR A SECOND CAUSE OF ACTION
RETALIATION (ADA and NYSHRL)

a7, Ms. Utter is within a protected class on account of her protected activity, to include
but not limited to her October 23, 2020 email concerning her disability and request for a disability
rights advocate.

38. Ms. Utter’s protected activity was known to Respondent and Respondent’s
decision-makers in regard to her termination and other discriminatory acts complained of.

39. Because of her protected activity, Ms. Utter was threatened with and subjected to
tangible adverse employment actions by Cherry Valley, including but not necessarily limited to

her February 4, 2021 termination and November 23, 2020 evaluation.
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40. Ms. Utter did not engage in any misconduct to support the termination of her
employment with Cherry Valley. However, even if Ms. Utter did engage in any such infractions,
any such infractions were not comparable in seriousness to misconduct of similarly situated
employees outside of the protected classes to which she belonged who were not subjected to
similar adverse employment actions.

41. Ms. Utter suffered more severe discipline, including termination, as a result of her
alleged misconduct and/or performance, than similarly situated employees who were outside her
protected class who engaged in misconduct of comparable or greater seriousness.

42. Asa direct and proximate result of Cherry Valley’s illegal retaliation against Ms.
Utter and discriminatory discharge of her, Ms. Utter has incurred damages including but not
limited to lost income and benefits, humiliation, loss of enjoyment of life, emotional distress,
damage to her professional reputation, and other pecuniary and non-pecuniary losses, which
damages would not have occurred but for Cherry Valley’s illegal discrimination and
discriminatory discharge.

PRAYER FOR RELIEF
Ms. Utter respectfully requests the following relief against Respondents:

a. Pay Ms. Utter an appropriate award of front and back pay, including all lost income
and benefits of employment, both past and future.

b. Pay Ms. Utter for her past and future non-pecuniary losses resulting from the illegal
conduct and practices complained of herein, including but not limited to damages flowing from
her humiliation, loss of enjoyment of life, emotional distress, damage to her professional
reputation, and other compensatory damages.

Cc Award Ms. Utter attorney’s fees, costs, and disbursements as provided by law; and
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d. Award such other and further relief as may be appropriate under the law and the

facts of this case.

VERIFICATION

Pursuant to 28 U.S.C. § 1746, I, Julie Utter declare under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.

Executed on: A £Z
Date

 

MANDY A. BURLISON s
Notary Public - State of i i .
No. 01BU6412037- .~-..
Qualifi ied in Otsego a

 
EEOC Form 161 (

Case 6:21-cv-01207-LEK-TWD Document1 Filed 11/05/21 Page 15 of 15
11/2020) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Julie Utter From: Buffalo Local Office
103 State Highway 165 300 Pearl Street
Roseboom, NY 13450 Suite 450

Lo

Buffalo, NY 14202

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601. 7(a))

EEOC Charge No. EEOC Representative Telephone No.

Nelida Sanchez,

525-2021-00672 Investigator (716) 431-5017
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

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Ce]

Title VII, t

The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.
Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

The Respondent employs less than the required number of employees or is not otherwise covered by the
statutes.

Your charge was not timely filed with EEOC: in other words, you waited too long after the date(s) of the
alleged discrimination to file your charge

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and
makes no determination about whether further investigation would establish violations of the statute. This
does not mean the claims have no merit. This determination does not certify that the respondent is in
compliance with the statutes. The EEOC makes no finding as to the merits of any other issues that might be
construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated
this charge.

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form. )

he Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or

the Age Discrimination in Employment Act: This will be the only notice of dismissal and of your right to
sue that we will send you. You may file a lawsuit against the respondent(s) under federal law based on this
charge in federal or state court. Your lawsuit must be filed WITHIN 90 DAYS of your receipt of this
notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim

under state

Equal Pay

law may be different.)

Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful

violations) of the alleged EPA underpayment. This means that backpay due for any violations that
occurred more than 2 years (3 years) before you file suit may not be collectible.

Enclosures(s)

On behalf of the

 

Commission bi \ tba Re
° igitally signed by Maureen C. Kielt

Maureen G Kielt Date: 2021.08.10 14:38:17 -04'00'
Maureen Kielt, (Date Issued)

Local Office Director
